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NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-0038



                                                                       Date:   Oct 24, 2017
Bill To:
                                                            Payment Terms:     NET 10
Sarah Schnepf
                                                                   Due Date:   Nov 3, 2017

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 45,000          $ 45,000




                                                                      Total:   $ 45,000

                                                               Amount Paid:    $ 45,000




                                                                               EX3139-001
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 2 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0213



                                                                       Date:    Nov 24, 2017
Bill To:
                                                            Payment Terms:      NET 10
Weston Berg
                                                                   Due Date:    Dec 4, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 160            $ 160




                                                                      Total:    $ 160

                                                               Amount Paid:     $ 160




                                                                                EX3139-003
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 4 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                        INV-0372



                                                                       Date:   Nov 29, 2017
Bill To:
                                                            Payment Terms:     NET 10
Dmitriy Buyanov
                                                                   Due Date:   Dec 9, 2017

                                                             Balance Due:      $0




Item                                                    Quantity        Rate            Amount

AML Token Sale deposit to account                       1               $ 100,000       $ 100,000




                                                                      Total:   $ 100,000

                                                               Amount Paid:    $ 100,000




                                                                               EX3139-005
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 6 of 94
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 7 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0554



                                                                       Date:    Dec 3, 2017
Bill To:
                                                            Payment Terms:      NET 10
Sarabjit kaur
                                                                   Due Date:    Dec 13, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 600            $ 600




                                                                      Total:    $ 600

                                                               Amount Paid:     $ 600




                                                                                EX3139-007
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 8 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-0597



                                                                       Date:      Dec 4, 2017
Bill To:
                                                            Payment Terms:        NET 10
Dale Styles-Hudson
                                                                   Due Date:      Dec 14, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,000             $ 1,000




                                                                      Total:      $ 1,000

                                                               Amount Paid:       $ 1,000




                                                                               EX3139-009
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 10 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0651



                                                                       Date:    Dec 5, 2017
Bill To:
                                                            Payment Terms:      NET 10
Cory Cohen
                                                                   Due Date:    Dec 15, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 200            $ 200




                                                                      Total:    $ 200

                                                               Amount Paid:     $ 200




                                                                                EX3139-011
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 12 of 94
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 13 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0658



                                                                       Date:    Dec 5, 2017
Bill To:
                                                            Payment Terms:      NET 10
Robert guy
                                                                   Due Date:    Dec 15, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                      Total:    $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3139-013
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 14 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-0681



                                                                       Date:      Dec 6, 2017
Bill To:
                                                            Payment Terms:        NET 10
Dale Styles-Hudson
                                                                   Due Date:      Dec 16, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 5,000             $ 5,000




                                                                      Total:      $ 5,000

                                                               Amount Paid:       $ 5,000




                                                                               EX3139-015
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 16 of 94
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NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-0707



                                                                       Date:    Dec 6, 2017
Bill To:
                                                            Payment Terms:      NET 10
Bonnie Adley
                                                                   Due Date:    Dec 16, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 1,016 24       $ 1,016 24




                                                                      Total:    $ 1,016 24

                                                               Amount Paid:     $ 1,016 24




                                                                               EX3139-017
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 18 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0738



                                                                       Date:    Dec 6, 2017
Bill To:
                                                            Payment Terms:      NET 10
Ceslovas Kucinskas
                                                                   Due Date:    Dec 16, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 214            $ 214




                                                                      Total:    $ 214

                                                               Amount Paid:     $ 214




                                                                                EX3139-019
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 20 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                        INV-0886



                                                                       Date:   Dec 8, 2017
Bill To:
                                                            Payment Terms:     NET 10
Scott Bruffey
                                                                   Due Date:   Dec 18, 2017

                                                             Balance Due:      $0




Item                                                    Quantity        Rate            Amount

AML Token Sale deposit to account                       1               $ 100,000       $ 100,000




                                                                      Total:   $ 100,000

                                                               Amount Paid:    $ 100,000




                                                                               EX3139-021
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 22 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-0984



                                                                       Date:    Dec 10, 2017
Bill To:
                                                            Payment Terms:      NET 10
Christina Kirven
                                                                   Due Date:    Dec 20, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 200            $ 200




                                                                      Total:    $ 200

                                                               Amount Paid:     $ 200




                                                                                EX3139-023
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 24 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1046



                                                                       Date:      Dec 10, 2017
Bill To:
                                                            Payment Terms:        NET 10
Rahul Shrivastava
                                                                   Due Date:      Dec 20, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,000             $ 1,000




                                                                      Total:      $ 1,000

                                                               Amount Paid:       $ 1,000




                                                                               EX3139-025
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 26 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-1121



                                                                       Date:    Dec 11, 2017
Bill To:
                                                            Payment Terms:      NET 10
chanajit
                                                                   Due Date:    Dec 21, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                      Total:    $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3139-027
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 28 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1123



                                                                       Date:      Dec 11, 2017
Bill To:
                                                            Payment Terms:        NET 10
Tri Hoang
                                                                   Due Date:      Dec 21, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 2,000             $ 2,000




                                                                      Total:      $ 2,000

                                                               Amount Paid:       $ 2,000




                                                                               EX3139-029
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 30 of 94
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NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-1139



                                                                       Date:    Dec 12, 2017
Bill To:
                                                            Payment Terms:      NET 10
Martin Smit
                                                                   Due Date:    Dec 22, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 1,449 40       $ 1,449 40




                                                                      Total:    $ 1,449 40

                                                               Amount Paid:     $ 1,449 40




                                                                               EX3139-031
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 32 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-1288



                                                                       Date:   Dec 13, 2017
Bill To:
                                                            Payment Terms:     NET 10
mohamed abdulgany
                                                                   Due Date:   Dec 23, 2017

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 15,000          $ 15,000




                                                                      Total:   $ 15,000

                                                               Amount Paid:    $ 15,000




                                                                               EX3139-033
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1435



                                                                       Date:      Dec 14, 2017
Bill To:
                                                            Payment Terms:        NET 10
Jean D. Baptichon
                                                                   Due Date:      Dec 24, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,000             $ 1,000




                                                                      Total:      $ 1,000

                                                               Amount Paid:       $ 1,000




                                                                               EX3139-035
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 36 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-1472



                                                                       Date:    Dec 15, 2017
Bill To:
                                                            Payment Terms:      NET 10
anthony morris
                                                                   Due Date:    Dec 25, 2017

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 300            $ 300




                                                                      Total:    $ 300

                                                               Amount Paid:     $ 300




                                                                                EX3139-037
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NAC Foundation, LLC
                                                                         INVOICE
                                                                                         INV-1590



                                                                      Date:   Dec 15, 2017
Bill To:
                                                           Payment Terms:     NET 10
Charlie Khoury
                                                                  Due Date:   Dec 25, 2017

                                                            Balance Due:      $0




Item                                                   Quantity        Rate              Amount

AML Token Sale deposit to                              1               $ 12,500          $ 12,500




                                                                     Total:   $ 12,500

                                                              Amount Paid:    $ 12,500




                                                                              EX3139-039
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 40 of 94
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NAC Foundation, LLC
                                                                               INVOICE
                                                                                                 INV-1661



                                                                            Date:      Dec 16, 2017
Bill To:
                                                                 Payment Terms:        NET 10
Michael Huemer
                                                                        Due Date:      Dec 26, 2017

                                                                  Balance Due:         $0




Item                                                         Quantity        Rate                Amount

AML Token Sale deposit to account mail.huemer@gmail.com      1               $ 1,250             $ 1,250




                                                                           Total:      $ 1,250

                                                                    Amount Paid:       $ 1,250




                                                                                    EX3139-041
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 42 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1850



                                                                       Date:      Dec 19, 2017
Bill To:
                                                            Payment Terms:        NET 10
Chandni Patel
                                                                   Due Date:      Dec 29, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,000             $ 1,000




                                                                      Total:      $ 1,000

                                                               Amount Paid:       $ 1,000




                                                                               EX3139-043
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1862



                                                                       Date:      Dec 19, 2017
Bill To:
                                                            Payment Terms:        NET 10
ohad ifergan
                                                                   Due Date:      Dec 29, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 2,500             $ 2,500




                                                                      Total:      $ 2,500

                                                               Amount Paid:       $ 2,500




                                                                               EX3139-045
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-1864



                                                                       Date:   Dec 19, 2017
Bill To:
                                                            Payment Terms:     NET 10
Charlie Khoury
                                                                   Due Date:   Dec 29, 2017

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 10,000          $ 10,000




                                                                      Total:   $ 10,000

                                                               Amount Paid:    $ 10,000




                                                                               EX3139-047
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 48 of 94

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Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-048
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 49 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1963



                                                                       Date:      Dec 21, 2017
Bill To:
                                                            Payment Terms:        NET 10
Valerio Meroi
                                                                   Due Date:      Dec 31, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,875             $ 1,875




                                                                      Total:      $ 1,875

                                                               Amount Paid:       $ 1,875




                                                                               EX3139-049
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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-050
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-1977



                                                                       Date:      Dec 21, 2017
Bill To:
                                                            Payment Terms:        NET 10
Ellen Smith
                                                                   Due Date:      Dec 31, 2017

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 3,000             $ 3,000




                                                                      Total:      $ 3,000

                                                               Amount Paid:       $ 3,000




                                                                               EX3139-051
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 52 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-052
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 53 of 94
NAC Foundation, LLC
                                                                           INVOICE
                                                                                              INV-2030



                                                                       Date:       Dec 22, 2017
Bill To:
                                                            Payment Terms:         NET 10
Harold Ofori
                                                                   Due Date:       Jan 1, 2018

                                                             Balance Due:          $0




Item                                                    Quantity        Rate                  Amount

AML Token Sale deposit to account                       1               $ 341 19              $ 341 19




                                                                      Total:       $ 341 19

                                                               Amount Paid:        $ 341 19




                                                                               EX3139-053
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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-054
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2058



                                                                       Date:   Dec 23, 2017
Bill To:
                                                            Payment Terms:     NET 10
Dinesh Ghevariya
                                                                   Due Date:   Jan 2, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 11,500          $ 11,500




                                                                      Total:   $ 11,500

                                                               Amount Paid:    $ 11,500




                                                                               EX3139-055
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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-056
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NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-2110



                                                                       Date:    Dec 24, 2017
Bill To:
                                                            Payment Terms:      NET 10
Heath Watson
                                                                   Due Date:    Jan 3, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 1,562 50       $ 1,562 50




                                                                      Total:    $ 1,562 50

                                                               Amount Paid:     $ 1,562 50




                                                                               EX3139-057
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CHASE BANK
ACCOUNT NAME:



BANK ADDRESS:
ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-058
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NAC Foundation, LLC
                                                                           INVOICE
                                                                                              INV-2301



                                                                       Date:       Dec 29, 2017
Bill To:
                                                            Payment Terms:         NET 10
Acelin Berthelot
                                                                   Due Date:       Jan 8, 2018

                                                             Balance Due:          $0




Item                                                    Quantity        Rate                  Amount

AML Token Sale deposit to account                       1               $ 781 25              $ 781 25




                                                                      Total:       $ 781 25

                                                               Amount Paid:        $ 781 25




                                                                               EX3139-059
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Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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Inc., A Professional Corporation (“DSA, APC”), pursuant to rules of the State Bar of Nevada. DSA, APC acts as
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                                                                                                 EX3139-060
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 61 of 94
NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-2374



                                                                       Date:    Dec 31, 2017
Bill To:
                                                            Payment Terms:      NET 10
TAE HWANG
                                                                   Due Date:    Jan 10, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 4,981 25       $ 4,981 25




                                                                      Total:    $ 4,981 25

                                                               Amount Paid:     $ 4,981 25




                                                                               EX3139-061
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 62 of 94

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ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-062
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 63 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2472



                                                                       Date:   Jan 2, 2018
Bill To:
                                                            Payment Terms:     NET 10
Everett Roberts
                                                                   Due Date:   Jan 12, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 10,625          $ 10,625




                                                                      Total:   $ 10,625

                                                               Amount Paid:    $ 10,625




                                                                               EX3139-063
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 64 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-064
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 65 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-2497



                                                                       Date:    Jan 3, 2018
Bill To:
                                                            Payment Terms:      NET 10
Douglas Smith
                                                                   Due Date:    Jan 13, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 300            $ 300




                                                                      Total:    $ 300

                                                               Amount Paid:     $ 300




                                                                                EX3139-065
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 66 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3139-066
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 67 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2544



                                                                       Date:   Jan 4, 2018
Bill To:
                                                            Payment Terms:     NET 10
Remo Moruzzi
                                                                   Due Date:   Jan 14, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 20,250          $ 20,250




                                                                      Total:   $ 20,250

                                                               Amount Paid:    $ 20,250




                                                                               EX3139-067
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CHASE BANK
ACCOUNT NAME:



BANK ADDRESS:
ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-068
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 69 of 94
NAC Foundation, LLC
                                                                           INVOICE
                                                                                              INV-2549



                                                                       Date:       Jan 4, 2018
Bill To:
                                                            Payment Terms:         NET 10
Omar Y K Alshaikhali
                                                                   Due Date:       Jan 14, 2018

                                                             Balance Due:          $0




Item                                                    Quantity        Rate                  Amount

AML Token Sale deposit to account                       1               $ 408 40              $ 408 40




                                                                      Total:       $ 408 40

                                                               Amount Paid:        $ 408 40




                                                                               EX3139-069
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 70 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:               620




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confirmation to




                                                                                                 EX3139-070
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 71 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2598



                                                                       Date:   Jan 4, 2018
Bill To:
                                                            Payment Terms:     NET 10
Gordon VaughnCooke
                                                                   Due Date:   Jan 14, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 30,000          $ 30,000




                                                                      Total:   $ 30,000

                                                               Amount Paid:    $ 30,000




                                                                               EX3139-071
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 72 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-072
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 73 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2637



                                                                       Date:   Jan 5, 2018
Bill To:
                                                            Payment Terms:     NET 10
Lee dong chul
                                                                   Due Date:   Jan 15, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 20,000          $ 20,000




                                                                      Total:   $ 20,000

                                                               Amount Paid:    $ 20,000




                                                                               EX3139-073
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 74 of 94
             Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25    Page 75 of 94
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-2647



                                                                        Date:      Jan 5, 2018
Bill To:
                                                             Payment Terms:        NET 10
lior talbi
                                                                    Due Date:      Jan 15, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 3,500             $ 3,500




                                                                       Total:      $ 3,500

                                                                Amount Paid:       $ 3,500




                                                                                EX3139-075
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 76 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-076
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 77 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-2775



                                                                       Date:   Jan 7, 2018
Bill To:
                                                            Payment Terms:     NET 10
Sam Sobania
                                                                   Due Date:   Jan 17, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 15,625          $ 15,625




                                                                      Total:   $ 15,625

                                                               Amount Paid:    $ 15,625




                                                                               EX3139-077
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 78 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-078
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 79 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-2787



                                                                       Date:    Jan 7, 2018
Bill To:
                                                            Payment Terms:      NET 10
Daniel Gidez
                                                                   Due Date:    Jan 17, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 750            $ 750




                                                                      Total:    $ 750

                                                               Amount Paid:     $ 750




                                                                                EX3139-079
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-3935



                                                                       Date:    Jan 18, 2018
Bill To:
                                                            Payment Terms:      NET 10
Gyorgy Dobo
                                                                   Due Date:    Jan 28, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                      Total:    $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3139-081
Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25   Page 82 of 94
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NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-3974



                                                                       Date:    Jan 19, 2018
Bill To:
                                                            Payment Terms:      NET 10
Andor Pasztor
                                                                   Due Date:    Jan 29, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 300            $ 300




                                                                      Total:    $ 300

                                                               Amount Paid:     $ 300




                                                                                EX3139-083
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 84 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-084
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 85 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4083



                                                                       Date:      Jan 20, 2018
Bill To:
                                                            Payment Terms:        NET 10
Baron August
                                                                   Due Date:      Jan 30, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 9,000             $ 9,000




                                                                      Total:      $ 9,000

                                                               Amount Paid:       $ 9,000




                                                                               EX3139-085
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 86 of 94

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ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-086
            Case 3:20-cr-00249-RS   Document 675-8   Filed 06/06/25    Page 87 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4145



                                                                       Date:      Jan 22, 2018
Bill To:
                                                            Payment Terms:        NET 10
Uffizi AS
                                                                   Due Date:      Feb 1, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to                               1               $ 5,300             $ 5,300




                                                                      Total:      $ 5,300

                                                               Amount Paid:       $ 5,300




                                                                               EX3139-087
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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-088
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 89 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-4234



                                                                       Date:    Jan 24, 2018
Bill To:
                                                            Payment Terms:      NET 10
Rayapa Reddy Gopu
                                                                   Due Date:    Feb 3, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                      Total:    $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3139-089
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 90 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-090
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 91 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-4278



                                                                       Date:    Jan 25, 2018
Bill To:
                                                            Payment Terms:      NET 10
Romeo Vinas
                                                                   Due Date:    Feb 4, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 375            $ 375




                                                                      Total:    $ 375

                                                               Amount Paid:     $ 375




                                                                                EX3139-091
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 92 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620



                    CODE: CHASUS33XXX



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                                                                                                 EX3139-092
           Case 3:20-cr-00249-RS    Document 675-8   Filed 06/06/25    Page 93 of 94
NAC Foundation, LLC
                                                                          INVOICE
                                                                                        INV-3298



                                                                       Date:   Jan 12, 2018
Bill To:
                                                            Payment Terms:     NET 10
Block Bits Capital
                                                                   Due Date:   Jan 22, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate            Amount

AML Token Sale deposit to account                       1               $ 850,000       $ 850,000




                                                                      Total:   $ 850,000

                                                               Amount Paid:    $ 850,000




                                                                               EX3139-093
           Case 3:20-cr-00249-RS            Document 675-8          Filed 06/06/25       Page 94 of 94

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3139-094
